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                                                                                    APPEAL,TERMED
                   U.S. District Court − District of Colorado
                         District of Colorado (Denver)
       CRIMINAL DOCKET FOR CASE #: 1:17−cr−00168−CMA All Defendants
                               Internal Use Only

   Case title: USA v. McClaflin                              Date Filed: 05/17/2017
                                                             Date Terminated: 05/14/2018

   Assigned to: Judge Christine M.
   Arguello
   Appeals court case number:
   18−1217 USCA

   Defendant (1)
   Karen Lynn McClaflin                represented by Karen Lynn McClaflin
   TERMINATED: 05/14/2018                             44166−013
                                                      CARSWELL
                                                      FEDERAL MEDICAL CENTER
                                                      Inmate Mail/Parcels
                                                      P.O. BOX 27137
                                                      FORT WORTH, TX 76127
                                                      PRO SE

                                                  Ann Marie Taliaferro
                                                  Brown Bradshaw & Moffat
                                                  10 West Broadway
                                                  Suite 210
                                                  Salt Lake City, UT 84101
                                                  801−532−5297
                                                  Fax: 801−532−5298
                                                  Email: ann@brownbradshaw.com
                                                  ATTORNEY TO BE NOTICED
                                                  Designation: 10th Circuit Special Designation

                                                  Nathan Dale Chambers
                                                  Nathan D. Chambers LLC
                                                  303 16th Street
                                                  Suite 200
                                                  Denver, CO 80202
                                                  303−825−2222
                                                  Fax: 303−825−4010
                                                  Email: nchambers@nathanchamberslaw.com
                                                  ATTORNEY TO BE NOTICED
                                                  Designation: CJA Appointment

                                                  Thomas James Hammond
                                                  Thomas J. Hammond, P.C.
                                                  1544 Race Street
                                                  Denver, CO 80206
                                                  303−321−7902
                                                  Fax: 303−329−5871
                                                  Email: hammondlaw@solucian.com
                                                  ATTORNEY TO BE NOTICED
                                                  Designation: CJA Appointment

   Pending Counts                                 Disposition
   18 U.S.C. § 1343 Wire Fraud                    Defendant committed to the custody of the Federal
   (1)                                            Bureau of Prisons to be imprisoned for a total term of
                                                  NINETY−SIX (96) MONTHS to run concurrently to
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                                                     Count 2. Supervised Release of THREE (3) YEARS
                                                     to run concurrently to Count 2. Special Assessment of
                                                     $100.00. Restitution of $14,528,206.39.
                                                     Defendant committed to the custody of the Federal
   18 U.S.C. § 1957 Monetary                         Bureau of Prisons to be imprisoned for a total term of
   Transaction in property derived                   NINETY−SIX (96) MONTHS to run concurrently to
   from wire fraud                                   Count 1. Supervised Release of THREE (3) YEARS
   (2)                                               to run concurrently to Count 1. Special Assessment of
                                                     $100.00. Restitution of $14,528,206.39.

   Highest Offense Level
   (Opening)
   Felony

   Terminated Counts                                 Disposition
   None

   Highest Offense Level
   (Terminated)
   None

   Complaints                                        Disposition
   None


   Plaintiff
   USA                                           represented by Pegeen Denise Rhyne
                                                                U.S. Attorney's Office−Denver
                                                                1801 California Street
                                                                Suite 1600
                                                                Denver, CO 80202
                                                                303−454−0323
                                                                Fax: 303−454−0409
                                                                Email: pegeen.rhyne@usdoj.gov
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED
                                                                Designation: Federal Agency Attorney

                                                                Laura Beth Hurd
                                                                U.S. Attorney's Office−Denver
                                                                1801 California Street
                                                                Suite 1600
                                                                Denver, CO 80202
                                                                303−454−0135
                                                                Fax: 303−454−0402
                                                                Email: laura.hurd@usdoj.gov
                                                                ATTORNEY TO BE NOTICED
                                                                Designation: Federal Agency Attorney

    Date Filed     #    Docket Text
    05/17/2017      1 INFORMATION as to Karen Lynn McClaflin (1) count(s) 1, 2. (Attachments: # 1
                      Penalty Sheet) (athom, ) (Entered: 05/17/2017)
    05/17/2017      2 NOTICE OF ATTORNEY APPEARANCE: Thomas James Hammond appearing for
                      Karen Lynn McClaflinAttorney Thomas James Hammond added to party Karen Lynn
                      McClaflin(pty:dft) (Hammond, Thomas) (Entered: 05/17/2017)
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   05/17/2017    3 Personal Recognizance Bond Entered as to Karen Lynn McClaflin (bwilk, ) (Entered:
                   05/18/2017)
   05/17/2017    4 ORDER Setting Conditions of Release by Magistrate Judge Nina Y. Wang on 5/17/17.
                   (bwilk, ) (Entered: 05/18/2017)
   05/17/2017    5 COURTROOM MINUTES for Initial Appearance, and Arraignment, as to Karen Lynn
                   McClaflin held on 5/17/2017 before Magistrate Judge Nina Y. Wang. Defendant
                   present on summons. Defendant sworn. Defendant advised. Defendant waives filing of
                   indictment. Waiver tendered to the court. Parties have an informal agreement
                   regarding discovery. Plea of NOT GUILTY entered by defendant. Bond set as to
                   Karen Lynn McClaflin (1) Personal Recognizance. Conditions of bond set. Counsel is
                   directed to chambers. (Total time: 9 minutes, Hearing time: 1:38−1:47)

                    APPEARANCES: Pegeen Rhyne on behalf of the Government, Thomas Hammond
                    on behalf of the Defendant, Angela Ledesma on behalf of Pretrial. FTR: Courtroom
                    C−204. (bwilk, ) Text Only Entry (Entered: 05/18/2017)
   05/17/2017    6 WAIVER of Indictment, by Karen Lynn McClaflin. (nmarb, ) (Entered: 05/19/2017)
   05/20/2017    7 NOTICE of Disposition by Karen Lynn McClaflin (Hammond, Thomas) (Entered:
                   05/20/2017)
   05/22/2017    8 ORDER as to Karen Lynn McClaflin: Pursuant to email correspondence between
                   counsel and Chambers staff and the Notice of Disposition 7 , a Change of Plea Hearing
                   is set for Defendant on June 21, 2017, at 3:00 PM in Courtroom A602 before Judge
                   Christine M. Arguello. Counsel for the parties shall deliver courtesy copy of the Plea
                   Agreement to Judge Arguello's chambers, via email or fax, no less than 72 hours
                   before the Change of Plea Hearing. If a courtesy copy is not timely submitted, the
                   hearing may be vacated. The original and one copy of the Statement by Defendant in
                   Advance of Change of Plea and Plea Agreement should be delivered to the courtroom
                   deputy in the courtroom at the time of the hearing (D.C.COLO.LCrR 11.1(e)(1)).
                   FURTHER ORDERED that defense counsel who has reviewed and advised Defendant
                   regarding the facts, discovery and plea agreement must attend this Change of Plea
                   Hearing. SO ORDERED BY Judge Christine M. Arguello on 5/22/2017. Text Only
                   Entry (cmasec) (Entered: 05/22/2017)
   06/19/2017    9 (Court only) BAIL REPORT as to Karen Lynn McClaflin. (doden, ) (Entered:
                   06/19/2017)
   06/21/2017   10 MINUTE ENTRY for proceedings held before Judge Christine M. Arguello: Change
                   of Plea Hearing as to Karen Lynn McClaflin held on 6/21/2017. Plea entered by
                   Defendant; Guilty as to Counts 1 and 2 of the Information. Sentencing set for
                   01/17/2018 at 9:00 a.m. in Courtroom A602 before Judge Christine M. Arguello.
                   ORDERED: Counsel shall file either a Stipulation as to loss amount and restitution
                   amount, and enhancements or simultaneous Sentencing Statements by 09/29/2017. All
                   other dates are vacated and any pending motions are denied as moot. The US
                   Probation Office shall prepare a Presentence Report. Counsel shall file their sentencing
                   positions and all motions at least 14 days before the sentencing date; responses or
                   objections shall be filed no later than seven days before the sentencing date. Failure to
                   timely file these pleadings may result in a continuance of the sentencing date.
                   Defendant present on bond; bond continued. (Total time: 47 Minutes, Hearing time:
                   3:02 p.m. −− 3:49 p.m.)

                    APPEARANCES: Pegeen Rhyne on behalf of the Government; Thomas Hammond
                    on behalf of the Defendant. Court Reporter: Darlene Martinez. (swest) Text Only
                    Entry (Entered: 06/21/2017)
   06/21/2017   11 PLEA AGREEMENT as to Defendant Karen Lynn McClaflin. (swest) (Entered:
                   06/21/2017)
   06/21/2017   12 STATEMENT IN ADVANCE OF PLEA OF GUILTY by Defendant Karen Lynn
                   McClaflin. (swest) (Entered: 06/21/2017)
   09/01/2017   13 Joint MOTION to Continue DEADLINE FOR SENTENCING FILINGS AND
                   SENTENCING HEARING by USA as to Karen Lynn McClaflin. (Rhyne, Pegeen)
                   (Entered: 09/01/2017)
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   09/11/2017   14 ORDER granting 13 Motion to Continue as to Karen Lynn McClaflin (1). Pursuant to
                   email correspondence between counsel and Chambers staff, Sentencing set for
                   1/17/2018 is VACATED and RESET to 3/14/2018, at 11:00 AM in Courtroom A 602
                   before Judge Christine M. Arguello. FURTHER ORDERED that Sentencing
                   Statements or a stipulation regarding loss and restitution is due 12/1/2017. SO
                   ORDERED by Judge Christine M. Arguello on 9/11/2017. Text Only Entry (cmasec)
                   (Entered: 09/11/2017)
   12/01/2017   15 STIPULATION Regarding Loss and Restitution by USA as to Karen Lynn McClaflin
                   (Rhyne, Pegeen) (Entered: 12/01/2017)
   02/07/2018   16 RESTRICTED PRESENTENCE REPORT first disclosure for attorney review as to
                   Karen Lynn McClaflin (Attachments: # 1 Exhibit B, # 2 Exhibit C, # 3 Exhibit D, # 4
                   Exhibit E, # 5 Exhibit F, Part I, # 6 Exhibit F, Part II, # 7 Exhibit G)(chanl) (Entered:
                   02/07/2018)
   02/14/2018   17 OBJECTION/RESPONSE to Presentence Report 16 by USA as to Karen Lynn
                   McClaflin (Rhyne, Pegeen) (Entered: 02/14/2018)
   02/21/2018   18 OBJECTION/RESPONSE to Presentence Report by Karen Lynn McClaflin
                   (Hammond, Thomas) (Entered: 02/21/2018)
   02/23/2018   19 MOTION for Decrease for Acceptance of Responsibility by USA as to Karen Lynn
                   McClaflin. (Rhyne, Pegeen) (Entered: 02/23/2018)
   02/23/2018   20 MOTION for Order for a Variant Sentence of 65 Months of Incarceration by USA as
                   to Karen Lynn McClaflin. (Rhyne, Pegeen) (Entered: 02/23/2018)
   03/05/2018   21 RESTRICTED PRESENTENCE REPORT as to Karen Lynn McClaflin (Attachments:
                   # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F,
                   Part I, # 7 Exhibit F, Part II, # 8 Exhibit G)(chanl) (Entered: 03/05/2018)
   03/05/2018   22 RESTRICTED ADDENDUM to Presentence Report 21 as to Karen Lynn McClaflin
                   (Attachments: # 1 Exhibit A)(chanl) (Entered: 03/05/2018)
   03/05/2018   23 Unopposed MOTION to Continue Sentencing by Karen Lynn McClaflin. (Hammond,
                   Thomas) (Entered: 03/05/2018)
   03/05/2018   24 MOTION for Leave to Restrict by Karen Lynn McClaflin. (Hammond, Thomas)
                   (Entered: 03/05/2018)
   03/05/2018   25 RESTRICTED DOCUMENT − Level 2: as to Karen Lynn McClaflin. (Hammond,
                   Thomas) (Entered: 03/05/2018)
   03/05/2018   26 RESTRICTED DOCUMENT − Level 2: as to Karen Lynn McClaflin. (Hammond,
                   Thomas) (Entered: 03/05/2018)
   03/06/2018   27 ORDER granting 23 Motion to Continue as to Karen Lynn McClaflin (1). Pursuant to
                   email correspondence between counsel and Chambers staff, Sentencing set for
                   3/14/2018 is VACATED and RESET to 5/10/2018, at 11:00 AM in Courtroom A 602
                   before Judge Christine M. Arguello. SO ORDERED by Judge Christine M. Arguello
                   on 3/6/2018. Text Only Entry (cmasec) (Entered: 03/06/2018)
   03/09/2018   28 ORDER granting 24 Motion for Leave to Restrict. Docs. 25 and 26 , all exhibits
                   attached thereto, and any orders that may reveal the contents of these documents shall
                   have a Level 2 Restriction. SO ORDERED by Judge Christine M. Arguello on
                   3/9/2018. Text Only Entry (cmasec) (Entered: 03/09/2018)
   04/24/2018   29 NOTICE OF ATTORNEY APPEARANCE Laura Beth Hurd appearing for USA.
                   Attorney Laura Beth Hurd added to party USA(pty:pla) (Hurd, Laura) (Entered:
                   04/24/2018)
   04/24/2018   30 MOTION for Forfeiture of Property FOR PRELIMINARY ORDER OF FORFEITURE
                   FOR A PERSONAL MONEY JUDGMENT by USA as to Karen Lynn McClaflin.
                   (Attachments: # 1 Proposed Order (PDF Only))(Hurd, Laura) (Entered: 04/24/2018)
   04/25/2018   31 ADVISORY NOTICE OF NONCOMPLIANCE WITH COURT
                   RULES/PROCEDURES: re: 30 MOTION for Forfeiture of Property FOR
                   PRELIMINARY ORDER OF FORFEITURE FOR A PERSONAL MONEY
                   JUDGMENT filed by attorney Laura Beth Hurd. The format for the attorneys signature
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                    block information is not correct − the signature block does not contain the updated
                    contact information. DO NOT REFILE THE DOCUMENT. Action to take − future
                    documents must be filed pursuant to D.C.COLO.LCr49.1(a) and 4.3(d) of the
                    Electronic Case Filing Procedures (Criminal Cases). (Text Only Entry) (athom, )
                    (Entered: 04/25/2018)
   04/25/2018   32 PRELIMINARY ORDER OF FORFEITURE FOR A PERSONAL MONEY
                   JUDGMENTAGAINST DEFENDANT KAREN LYNN MCCLAFLIN as to Karen
                   Lynn McClaflin. By Judge Christine M. Arguello on 04/25/2018. (athom, ) (Entered:
                   04/25/2018)
   05/04/2018   33 MOTION to Continue May 10, 2018 Sentencing Hearing by Karen Lynn McClaflin.
                   (Hammond, Thomas) (Entered: 05/04/2018)
   05/04/2018   34 MOTION for Leave to Restrict by Karen Lynn McClaflin. (Hammond, Thomas)
                   (Entered: 05/04/2018)
   05/04/2018   35 RESTRICTED DOCUMENT − Level 2: as to Karen Lynn McClaflin. (Hammond,
                   Thomas) (Entered: 05/04/2018)
   05/04/2018   36 RESTRICTED DOCUMENT − Level 2: as to Karen Lynn McClaflin. (Attachments: #
                   1 Continuation of Main Document)(Hammond, Thomas) (Entered: 05/04/2018)
   05/07/2018   37 ORDER denying 33 Motion to Continue Sentencing. The Court notes that sentencing
                   has been delayed for almost a year and that Defendant does not allege, nor does any
                   evidence support, that Defendant requires a major procedure in the imminent future.
                   SO ORDERED by Judge Christine M. Arguello on 5/7/2018. Text Only Entry
                   (cmasec) (Entered: 05/07/2018)
   05/09/2018   38 ORDER granting 34 Motion for Leave to Restrict. Docs. ## 35 and 36 , all exhibits
                   attached thereto, and any orders that may reveal the contents of these documents shall
                   have a Level 2 Restriction. SO ORDERED by Judge Christine M. Arguello on
                   5/9/2018. Text Only Entry (cmasec) (Entered: 05/09/2018)
   05/10/2018   39 MINUTE ENTRY for proceedings held before Judge Christine M. Arguello:
                   Sentencing held on 5/10/2018 as to Defendant Karen Lynn McClaflin. Statements by
                   David Tinkle, Dean Sims, Richard Jackson, Paula Greco, Jeffrey Koch, Donna Klimas,
                   and Cynthia Lynn Henson. WITNESSES SWORN AND TESTIFIED: Melissa Tweet;
                   James Barash. EXHIBITS RECEIVED: 1, 2. ORDERED: GRANTING 19
                   Government's Motion for Decrease for Acceptance of Responsibility; DENYING 20
                   Government's Motion for Order for a Variant Sentence. FURTHER ORDERED:
                   Counsel for the parties shall retain custody of their respective exhibits until such time
                   as all need for the exhibits has terminated and the time to appeal has expired or all
                   appellate proceedings have been terminated plus sixty days. Defendant sentenced as
                   reflected on the record. Defendant present on bond; Defendant's bond is exonerated at
                   the time of voluntary surrender to the institution designated by the Bureau of Prisons.
                   (Total time: 2 Hours, 35 Minutes, Hearing time: 11:04 a.m. −− 1:51 p.m.)

                    APPEARANCES: Pegeen Rhyne and Laura Hurd on behalf of the Government;
                    Thomas Hammond on behalf of the Defendant; Michelle Means on behalf of
                    Probation. ALSO PRESENT: IRS Special Agent Melissa Tweet; Matthew Werner.
                    Court Reporter: Darlene Martinez. (swest) Text Only Entry (Entered: 05/10/2018)
   05/14/2018   40 AMENDED by Doc. 52 −− JUDGMENT as to defendant Karen Lynn McClaflin (1):
                   Defendant committed to the custody of the Federal Bureau of Prisons to be imprisoned
                   for a total term of NINETY−SIX (96) MONTHS as to each Count, to run concurrently.
                   Supervised Release of THREE (3) YEARS, as to each Count, to run concurrently.
                   Total Special Assessment of $200.00. Restitution of $14,528,206.39. SO ORDERED
                   by Judge Christine M. Arguello on 5/14/2018. (cmasec) Modified on 6/11/2018
                   (cmasec). (Entered: 05/14/2018)
   05/14/2018   41 STATEMENT OF REASONS as to Karen Lynn McClaflin. (cmasec) (Entered:
                   05/14/2018)
   05/17/2018   42 NOTICE OF APPEAL re 40 Judgment, by Karen Lynn McClaflin. (Attachments: # 1
                   Envelope) (athom, ) (Entered: 05/18/2018)
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   05/18/2018   43 LETTER Transmitting Notice of Appeal to all counsel advising of the transmittal of
                   the 42 Notice of Appeal as to Karen Lynn McClaflin to the U.S. Court of Appeals.
                   (Pro Se, Fee not paid and 1915 motion not filed,) (Attachments: # 1 Docket Sheet, # 2
                   Preliminary Record) (athom, ) (Entered: 05/18/2018)
   05/18/2018   44 USCA Case Number 18−1217 as to Karen Lynn McClaflin for 42 Notice of Appeal
                   filed by Karen Lynn McClaflin. (athom, ) (Entered: 05/18/2018)
   05/22/2018   45 MOTION to Proceed in Forma Pauperis and for Appointment of Counsel Pursuant to
                   the Criminal Justice Act by Karen Lynn McClaflin. (Hammond, Thomas) (Entered:
                   05/22/2018)
   05/22/2018   46 CJA 23 Financial Affidavit by Karen Lynn McClaflin. (Hammond, Thomas) (Entered:
                   05/22/2018)
   05/24/2018   47 TRANSCRIPT of Sentencing Hearing as to Karen Lynn McClaflin held on 5/10/18
                   before Judge Arguello. Pages: 1−112. <br><br> NOTICE − REDACTION OF
                   TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                   inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                   redact personal identifiers from the electronic transcript of the court proceeding.
                   If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                   will be made electronically available after 90 days. Please see the Notice of
                   Electronic Availability of Transcripts document at
                   www.cod.uscourts.gov.<br><br> Transcript may only be viewed at the court public
                   terminal or purchased through the Court Reporter/Transcriber prior to the 90 day
                   deadline for electronic posting on PACER. (dmart, ) (Entered: 05/24/2018)
   06/01/2018   48 ORDER to Surrender as to Karen Lynn McClaflin; Defendant to surrender to Federal
                   Correctional Institution Satellite Camp, Phoenix, AZ, on 06/19/2018, by 12:00 Noon,
                   and will travel at her own expense. By Judge Christine M. Arguello on 06/01/2018.
                   (athom, ) (Entered: 06/01/2018)
   06/01/2018   49 ORDER of USCA as to Karen Lynn McClaflin re 42 Notice of Appeal. The motion to
                   withdraw is taken under advisement and this appeal is abated pending further order of
                   the court. Until the district court determines that Appellant is financially eligible for
                   appointed counsel, this court cannot appoint counsel to represent Appellant in this
                   appeal. (USCA Case No. 18−1217) (athom, ) (Entered: 06/01/2018)
   06/05/2018   50 ORDER Granting 45 Motion to Proceed In Forma Pauperis on Appeal and for
                   Appointment of Counsel Pursuant to the Criminal Justice Act 18 U.S.C. § 3006A re 42
                   Notice of Appeal as to Karen Lynn McClaflin. By Judge Christine M. Arguello on
                   06/05/2018. (athom, ) (Entered: 06/05/2018)
   06/07/2018   51 ORDER of USCA granting Mr. Hammond's motion to withdraw as attorney, and
                   appoints attorney Ann Marie Taliaferro to represent appellant as to Karen Lynn
                   McClaflin re 42 Notice of Appeal. The abatement of this appeal is lifted. (USCA Case
                   No. 18−1217) (athom, ) (Entered: 06/07/2018)
   06/11/2018   52 AMENDED JUDGMENT as to defendant Karen Lynn McClaflin (1): Defendant
                   committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
                   term of NINETY−SIX (96) MONTHS as to each Count, to run concurrently.
                   Supervised Release of THREE (3) YEARS, as to each Count, to run concurrently.
                   Total Special Assessment of $200.00. Restitution of $14,528,206.39. SO ORDERED
                   by Judge Christine M. Arguello on 6/11/2018. (cmasec) (Entered: 06/11/2018)
   06/13/2018   53 MOTION for Stayof Self Surrender Order by Karen Lynn McClaflin. (Hammond,
                   Thomas) (Entered: 06/13/2018)
   06/13/2018   54 MOTION for Leave to Restrict by Karen Lynn McClaflin. (Hammond, Thomas)
                   (Entered: 06/13/2018)
   06/13/2018   55 RESTRICTED DOCUMENT − Level 2: as to Karen Lynn McClaflin. (Attachments: #
                   1 Continuation of Main Document, # 2 Continuation of Main Document, # 3
                   Continuation of Main Document, # 4 Continuation of Main Document, # 5
                   Continuation of Main Document, # 6 Continuation of Main Document, # 7
                   Continuation of Main Document, # 8 Continuation of Main Document, # 9
                   Continuation of Main Document, # 10 Continuation of Main Document, # 11
                   Continuation of Main Document)(Hammond, Thomas) (Entered: 06/13/2018)
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   06/14/2018   56 ORDER granting 53 Defendant's Motion for Stay as to Karen Lynn McClaflin (1).
                   Defendant's self−surrender date of 6/19/2018 is stayed for 120 days. The Court
                   FURTHER ORDERS that Defendant shall self−surrender on or before 10/17/2018, at
                   noon, at the facility designated by the BOP. No further extensions will be given, absent
                   an emergency substantiated by the in−court testimony of her doctors. To the extent
                   another continuance is requested, it must be filed at least 14 days before the
                   self−surrender date so that a hearing can be held. SO ORDERED by Judge Christine
                   M. Arguello on 6/14/2018. Text Only Entry (cmasec) (Entered: 06/14/2018)
   06/18/2018   57 ORDER granting 54 Motion for Leave to Restrict. Doc. 55 , all exhibits attached
                   thereto, and any orders that may reveal the contents of these documents shall have a
                   Level 2 Restriction. SO ORDERED by Judge Christine M. Arguello on 6/18/2018.
                   Text Only Entry (cmasec) (Entered: 06/18/2018)
   06/29/2018   58 DESIGNATION OF RECORD ON APPEAL re 42 Notice of Appeal by Karen Lynn
                   McClaflin. (Attachments: # 1 Docket Sheet)(Taliaferro, Ann) (Entered: 06/29/2018)
   06/29/2018   59 TRANSCRIPT ORDER FORM re 42 Notice of Appeal by Karen Lynn McClaflin.
                   (Taliaferro, Ann) (Entered: 06/29/2018)
   07/27/2018   60 REPORTER TRANSCRIPT ORDER FORM filed by Darlene Martinez re 42 Notice
                   of Appeal. Transcript due by 8/18/2018. (nrich) (Entered: 07/27/2018)
   08/16/2018   61 TRANSCRIPT of Change of Plea Hearing as to Karen Lynn McClaflin held on
                   6/21/17 before Judge Arguello. Pages: 1−47. <br><br> NOTICE − REDACTION
                   OF TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                   inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                   redact personal identifiers from the electronic transcript of the court proceeding.
                   If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                   will be made electronically available after 90 days. Please see the Notice of
                   Electronic Availability of Transcripts document at
                   www.cod.uscourts.gov.<br><br> Transcript may only be viewed at the court public
                   terminal or purchased through the Court Reporter/Transcriber prior to the 90 day
                   deadline for electronic posting on PACER. (dmart, ) (Entered: 08/16/2018)
   09/17/2018   62 TRANSMITTAL OF RECORD ON APPEAL as to Karen Lynn McClaflin to the U.S.
                   Court of Appeals for the Tenth Circuit as to 42 Notice of Appeal filed by Karen Lynn
                   McClaflin. Volume I − Electronic Documents; Volume II − SEALED − Electronic
                   Documents; Volume III − RESTRICTED LEVEL 2 − Electronic Documents; Volume
                   IV − Unrestricted Transcript − Electronic Documents; Volume V − Restricted
                   Transcript (90 Day Restriction) − Electronic Documents; (USCA Case No. 18−1217).
                   Text Only Entry (athom, ) (Entered: 09/17/2018)
   10/04/2018   63 MOTION for Leave to Restrict by Karen Lynn McClaflin. (Hammond, Thomas)
                   (Entered: 10/04/2018)
   10/04/2018   64 RESTRICTED DOCUMENT − Level 1: by Karen Lynn McClaflin. (Hammond,
                   Thomas) (Entered: 10/04/2018)
   10/04/2018   65 RESTRICTED DOCUMENT − Level 1: by Karen Lynn McClaflin. (Attachments: # 1
                   Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit, # 8
                   Exhibit, # 9 Exhibit, # 10 Exhibit, # 11 Exhibit, # 12 Exhibit, # 13 Exhibit)(Hammond,
                   Thomas) (Entered: 10/04/2018)
   10/04/2018       (Court only) ***MOTION re 65 Restricted Document − Level 1, (evana, ) (Entered:
                    10/05/2018)
   10/05/2018   66 ORDER as to Karen Lynn McClaflin: Due to the pending appeal in this case, the Court
                   questions whether or not it has jurisdiction in this matter. However, due to the
                   seriousness of the issue, it is ORDERED that 65 Defendant's Motion for Stay is
                   granted in part. Defendant's self−surrender date of 10/17/2018 is stayed for 60 days
                   until 12/10/2018. FURTHER ORDERED that an in−court hearing is set for 12/6/2018,
                   at 3:00 PM at which time the Government and defense counsel shall be prepared to
                   provide in−court testimony by Defendants doctors and a representative of the BOP.
                   The Government is DIRECTED to consult with the BOP with respect to whether the
                   BOP can provide the needed medical treatment and file a report with this Court no
                   later than 11/26/2018. SO ORDERED by Judge Christine M. Arguello on 10/5/2018.
                   Text Only Entry (cmasec) (Entered: 10/05/2018)
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   10/05/2018       (Court only) ***Motions terminated as to Karen Lynn McClaflin: Pursuant to the 66
                    Order (evana, ) (Entered: 10/05/2018)
   10/11/2018   67 ORDER granting 63 Motion for Leave to Restrict. Docs. 64 and 65 , all exhibits
                   attached thereto, and any orders that may reveal the contents of these documents shall
                   have a Level 1 Restriction. SO ORDERED by Judge Christine M. Arguello on
                   10/11/2018. Text Only Entry (cmasec) (Entered: 10/11/2018)
   10/31/2018   68 RESTRICTED DOCUMENT − Level 2: as to Karen Lynn McClaflin. (Attachments: #
                   1 Exhibit 1)(Rhyne, Pegeen) (Entered: 10/31/2018)
   10/31/2018   69 MOTION for Leave to Restrict by USA as to Karen Lynn McClaflin. (Attachments: #
                   1 Proposed Order (PDF Only))(Rhyne, Pegeen) (Entered: 10/31/2018)
   10/31/2018   70 RESTRICTED DOCUMENT − Level 2: as to Karen Lynn McClaflin. (Rhyne,
                   Pegeen) (Entered: 10/31/2018)
   11/02/2018   71 ORDER granting 69 Motion for Leave to Restrict. Docs. 70 and 68 all exhibits
                   attached thereto, and any orders that may reveal the contents of these documents shall
                   have a Level 2 Restriction. SO ORDERED by Judge Christine M. Arguello on
                   11/2/2018. Text Only Entry (cmasec) (Entered: 11/02/2018)
   11/29/2018   72 Unopposed MOTION to Continue December 6, 2018 Hearing by Karen Lynn
                   McClaflin. (Hammond, Thomas) (Entered: 11/29/2018)
   11/30/2018   73 ORDER granting 72 Unopposed Motion to Continue Hearing. Pursuant to email
                   correspondence between counsel and Chambers staff, the In Court Hearing set for
                   12/6/2018 is VACATED and RESET to 1/8/2019, at 03:00 PM in Courtroom A 602
                   before Judge Christine M. Arguello. FURTHER ORDERED that Defendant's
                   self−surrender date of 12/10/2018 is stayed until 1/18/2019. SO ORDERED by Judge
                   Christine M. Arguello on 11/30/2018. Text Only Entry (cmasec) (Entered:
                   11/30/2018)
   12/28/2018   74 ORDER as to Karen Lynn McClaflin: The Court, sua sponte, RESETS the In Court
                   Hearing set for 1/8/2019 to 1/14/2019, at 02:00 PM in Courtroom A 602 before Judge
                   Christine M. Arguello. SO ORDERED by Judge Christine M. Arguello on 12/28/2018.
                   Text Only Entry (cmasec) (Entered: 12/28/2018)
   12/28/2018   75 MOTION to Appoint Counsel by Karen Lynn McClaflin. (Hammond, Thomas)
                   (Entered: 12/28/2018)
   01/02/2019   76 MEMORANDUM regarding 75 MOTION to Appoint Counsel filed by Karen Lynn
                   McClaflin: Motion(s) referred to Magistrate Judge Scott T. Varholak as acting duty
                   judge. The Court recommends that if Mr. Hammond is eligible for and willing to
                   accept CJA appointment, he be approved for such appointment in order to preserve
                   continuity of counsel. By Chief Judge Marcia S. Krieger on behalf of Judge Arguello
                   on 1/2/19. Text Only Entry (msklc2, ) (Entered: 01/02/2019)
   01/02/2019   77 ORDER granting 75 Motion to Appoint Counsel as to Karen Lynn McClaflin (1).
                   Defendant McClaflin's previous Motion for Appointment of Counsel under the
                   Criminal Justice Act was granted for the purposes of her appeal. 50 For the same
                   reasons stated in the Court's Order granting that Motion, the Court finds that
                   Defendant McClaflin qualifies for the appointment of counsel under the Criminal
                   Justice Act and appoints Attorney Thomas J. Hammond as counsel for Defendant
                   McClaflin under the Criminal Justice Act in the instant matter. SO ORDERED, by
                   Magistrate Judge Scott T. Varholak on 1/2/2019. Text Only Entry (stvlc2, ) (Entered:
                   01/02/2019)
   01/03/2019   78 ORDER APPOINTING COUNSEL as to Karen Lynn McClaflin, pursuant to 77
                   Magistrate Judge Order. SO ORDERED by Judge Christine M. Arguello on 1/3/2019.
                   Text Only Entry (cmasec) (Entered: 01/03/2019)
   01/07/2019   79 NOTICE OF ATTORNEY APPEARANCE: Thomas James Hammond appearing for
                   Karen Lynn McClaflin (Hammond, Thomas) (Entered: 01/07/2019)
   01/08/2019   80 Proof Of Service of Subpoena as to Karen Lynn McClaflin. (athom, ) (Entered:
                   01/10/2019)
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   01/14/2019   81 MINUTE ENTRY for proceedings held before Judge Christine M. Arguello: Motion
                   Hearing as to Karen Lynn McClaflin held on 1/14/2019. WITNESSES SWORN AND
                   TESTIFIED: Todd Miner, Peter Brookmeyer. ORDERED: Simultaneous briefing re:
                   Court's authority to stay Defendant's self−surrender date due Wednesday, 1/16/2019 at
                   12:00 p.m. ALSO ORDERED: Government counsel to contact BOP or FMC Carswell
                   to coordinate the transfer of treatment from Dr. Brookmeyer to the BOP and to provide
                   that information to both Drs. Brookmeyer and Miner, and vice versa to provide Drs.
                   Brookmeyer and Miner contact information to the BOP. The Court AFFIRMS
                   Defendant's self−surrender date of 1/18/2019. Defendant present on bond; Defendant's
                   bond is exonerated at the time of voluntary surrender to the institution designated by
                   the Bureau of Prisons. (Total time: 1 Hour, 35 Minutes, Hearing time: 2:14 p.m. −−
                   4:09 p.m.)

                    APPEARANCES: Pegeen Rhyne on behalf of the Government; Thomas Hammond
                    on behalf of the Defendant. Court Reporter: Darlene Martinez. (swest) Text Only
                    Entry (Entered: 01/15/2019)
   01/16/2019   82 VACATED − ORDER to Surrender as to Karen Lynn McClaflin; Defendant to
                   surrender to FMC Carsell, J St. Bldg. 3000, Fort Worth, Texas on 01/18/2019, by
                   12:00 Noon and will travel at her own expense. By Judge Christine M. Arguello on
                   01/16/2019. (athom, ) Modified on 1/16/2019 to vacate pursuant to 85 Order (athom, ).
                   (Entered: 01/16/2019)
   01/16/2019   83 MOTION for Reconsideration of Court Order to Self−Surrender on Friday January
                   18, 2019 by Karen Lynn McClaflin. (Hammond, Thomas) (Entered: 01/16/2019)
   01/16/2019   84 BRIEF by USA as to Karen Lynn McClaflin (Attachments: # 1 Exhibit 1)(Rhyne,
                   Pegeen) (Entered: 01/16/2019)
   01/16/2019   85 ORDER Granting Stay of Self Surrender Date as to Karen Lynn McClaflin.
                   Defendant's Motion for Reconsideration the Court's Order on Self−Surrender (Doc. #
                   83 ) is GRANTED. Defendant's self−surrender date is STAYED for 60 days, until
                   3/19/2019. The Court's 1/16/2019 Order concerning Defendant's self−surrender (Doc.
                   # 82 ) is VACATED. Status Report due by 2/15/2019 and again on 3/1/2019. By Judge
                   Christine M. Arguello on 01/16/2019. (athom, ) (Entered: 01/16/2019)
   02/15/2019   86 STATUS REPORT by Karen Lynn McClaflin (Hammond, Thomas) (Entered:
                   02/15/2019)
   02/15/2019   87 RESTRICTED MEDICAL REPORT as to Karen Lynn McClaflin. (Hammond,
                   Thomas) (Entered: 02/15/2019)
   03/13/2019   88 MOTION for Leave to Restrict by Karen Lynn McClaflin. (Hammond, Thomas)
                   (Entered: 03/13/2019)
   03/13/2019   89 RESTRICTED DOCUMENT − Level 1: by Karen Lynn McClaflin. (Hammond,
                   Thomas) (Entered: 03/13/2019)
   03/13/2019   90 RESTRICTED DOCUMENT − Level 1: by Karen Lynn McClaflin. (Hammond,
                   Thomas) (Entered: 03/13/2019)
   03/18/2019   91 ORDER granting 88 Motion for Leave to Restrict as to Karen Lynn McClaflin (1).
                   Docs. 87 , 89 and 90 , all exhibits attached thereto, and any orders that may reveal the
                   contents of these documents shall have a Level 1 Restriction. SO ORDERED by Judge
                   Christine M. Arguello on 3/18/2019. Text Only Entry (cmasec) (Entered: 03/18/2019)
   03/18/2019   92 Emergency MOTION for Stayof March 19, 2019 Self−Surrender Order by Karen
                   Lynn McClaflin. (Hammond, Thomas) (Entered: 03/18/2019)
   03/19/2019   93 RESTRICTED MEDICAL REPORT as to Karen Lynn McClaflin. (Hammond,
                   Thomas) (Entered: 03/19/2019)
   03/19/2019   94 ORDER granting 92 Motion for Stay as to Karen Lynn McClaflin (1). Defendant's
                   self−surrender date is STAYED for 7 days, until 3/26/2019. FURTHER ORDERED
                   that Defendant shall provide contact information for Dr. Miner and the hospital at
                   which the Defendant's surgery is taking place. FURTHER ORDERED that Defendant
                   shall file a written report as to Defendant's status from Dr. Miner no later than
                   3/22/2019, 12:00 PM. SO ORDERED by Judge Christine M. Arguello on 3/19/2019.
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                      Text Only Entry (cmasec) (Entered: 03/19/2019)
   03/19/2019    95 ORDER to Surrender as to Karen Lynn McClaflin; Defendant to surrender to FMC
                    Carsell, J St. Bldg. 3000, FortWorth, Texas on 03/26/2019, by 12:00 Noon and will
                    travel at her own expense. By Judge Christine M. Arguello on 03/19/2019. (athom, )
                    (Entered: 03/19/2019)
   03/22/2019    96 MOTION for Extension of Time to File Provide Reports And Records And To
                    ContinueThe Self Surrender Order Until The Records Have Been Reviewed By
                    Counsel And The Court by Karen Lynn McClaflin. (Hammond, Thomas) (Entered:
                    03/22/2019)
   03/24/2019    97 RESTRICTED MEDICAL REPORT as to Karen Lynn McClaflin. (Hammond,
                    Thomas) (Entered: 03/24/2019)
   03/25/2019    98 ORDER granting 96 Motion for Extension of Time. Defendant's self−surrender date is
                    STAYED for 14 days, until 4/9/2019. FURTHER ORDERED Defendant shall file a
                    written report as to Defendant's status from Dr. Miner no later than 4/2/2019, 12:00
                    PM. SO ORDERED by Judge Christine M. Arguello on 3/25/2019. Text Only Entry
                    (cmasec) (Entered: 03/25/2019)
   04/04/2019    99 RESTRICTED MEDICAL REPORT as to Karen Lynn McClaflin. (Hammond,
                    Thomas) (Entered: 04/04/2019)
   04/08/2019   100 MOTION for Stayof Execution of April 9, 2019 Self−Surrender Order by Karen Lynn
                    McClaflin. (Hammond, Thomas) (Entered: 04/08/2019)
   04/08/2019   101 ORDER granting 100 Emergency Motion for Stay Self−Surrender Order. Defendant's
                    self−surrender date is STAYED until 5/14/2019. SO ORDERED by Judge Christine
                    M. Arguello on 4/8/2019. Text Only Entry (cmasec) (Entered: 04/08/2019)
   04/09/2019   102 ORDER to Surrender in lieu of transportation by the United States Marshal as to
                    Karen Lynn McClaflin; Defendant to surrender to FMC Carsell, J St. Bldg. 3000 in
                    Fort Worth, Texas, on May 14, 2019, by 12:00 Noon, and will travel at her own
                    expense, by Judge Christine M. Arguello on 4/9/2018. (evana, ) (Entered: 04/09/2019)
   05/12/2019   103 MOTION for Stayof Execution of May 14, 2019 Self−Surrender Order by Karen Lynn
                    McClaflin. (Hammond, Thomas) (Entered: 05/12/2019)
   05/12/2019   104 RESTRICTED MEDICAL REPORT as to Karen Lynn McClaflin. (Hammond,
                    Thomas) (Entered: 05/12/2019)
   05/13/2019   105 ORDER granting 103 Emergency Motion to Stay May 14, 2019 Self−Surrender Order.
                    Defendant's self−surrender date is STAYED for 28 days, until 6/11/2019. FURTHER
                    ORDERED Defendant shall file a written report as to Defendant's status from Dr.
                    Miner no later than 5/28/2019, 5:00 PM. SO ORDERED by Judge Christine M.
                    Arguello on 5/13/2019. Text Only Entry (cmalc3) (Entered: 05/13/2019)
   05/13/2019   106 ORDER to Surrender in lieu of transportation by the United States Marshal as to
                    Karen Lynn McClaflin; Defendant to surrender to FMC Carsell, J St. Bldg. 3000, Fort
                    Worth, Texas on June 11, 2019, by 12:00 Noon, and will travel at her own expense.
                    SO ORDERED by Judge Christine M. Arguello on 5/13/2019. (cmalc3) Modified on
                    5/14/2019 to attach PDF Order (athom, ). (Entered: 05/13/2019)
   05/29/2019   107 RESTRICTED MEDICAL REPORT as to Karen Lynn McClaflin. (Hammond,
                    Thomas) (Entered: 05/29/2019)
   05/29/2019   108 RESTRICTED MEDICAL REPORT as to Karen Lynn McClaflin. (Hammond,
                    Thomas) (Entered: 05/29/2019)
   05/29/2019   109 RESTRICTED MEDICAL REPORT as to Karen Lynn McClaflin. (evana, ) (Entered:
                    05/29/2019)
   05/29/2019   110 ORDER Setting Telephonic Status Conference as to Karen Lynn McClaflin. Counsel
                    for the parties are directed to attend a telephonic status conference during which
                    counsel should be prepared to discuss whether the Federal Medical Center, Carswell
                    can facilitate the medical needs set forth in Doc. # 109. The Status Conference is set
                    for 6/5/2019, at 3:30 PM, in Courtroom A 602 before Judge Christine M. Arguello.
                    Counsel shall conference call each other prior to calling Chambers at 303−335−2174.
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                      SO ORDERED by Judge Christine M. Arguello on 5/29/2019. Text Only Entry
                      (cmalc3) (Entered: 05/29/2019)
   06/05/2019   111 MINUTE ENTRY for proceedings held before Judge Christine M. Arguello: Status
                    Conference as to Karen Lynn McClaflin held on 6/5/2019. ORDERED: Court's Order
                    of 5/13/2019 remains in place −− Defendant to report to FMC Carswell on June 11,
                    2019. Defendant not present. (Total time: 9 Minutes, Hearing time: 3:30 p.m. −− 3:39
                    p.m.)

                      APPEARANCES: Pegeen Rhyne (by telephone) on behalf of the Government;
                      Thomas Hammond (by telephone) on behalf of the Defendant. Court Reporter:
                      Darlene Martinez. (swest) Text Only Entry (Entered: 06/05/2019)
   09/20/2019   112 USCA Opinion as to Karen Lynn McClaflin re 42 Notice of Appeal : We AFFIRM the
                    judgment of the district court. (USCA Case No. 18−1217) (This document is not the
                    Mandate) (Attachments: # 1 Cover Letter to Opinion)(evana, ) (Entered: 09/20/2019)
   09/20/2019   113 USCA Judgment as to Karen Lynn McClaflin re 42 Notice of Appeal : (USCA Case
                    No. 18−1217) (This document is not the Mandate) (evana, ) (Entered: 09/20/2019)
   10/15/2019   114 MANDATE of USCA as to Karen Lynn McClaflin 42 Notice of Appeal, 112 USCA
                    Opinion, and re 113 USCA Judgment, (USCA Case No. 18−1217) (evana, ) (Entered:
                    10/15/2019)
   12/31/2019   115 Letter from U.S. Supreme Court regarding Petition for Writ of Certiorari re 42 Notice
                    of Appeal ; assigned Supreme Court No. 19−7136 as to Karen Lynn McClaflin (
                    Appeal No. 18−1217) (evana, ) (Entered: 01/02/2020)
   02/24/2020   116 Letter from U.S. Supreme Court regarding Petition for Writ of Certiorari re 42 Notice
                    of Appeal ; assigned Supreme Court No. 19−7136 as to Karen Lynn McClaflin (
                    Appeal No. 18−1217) The petition for a writ of certiorari is denied. (evana, ) (Entered:
                    02/25/2020)
   06/05/2020   117 MOTION for Compassionate Release or Home Confinement per the Care & First Step
                    Acts by Karen Lynn McClaflin. (evana, ) (Entered: 06/05/2020)
   06/05/2020   118 Certificate of Service as to Karen Lynn McClaflin re 117 MOTION to Reduce
                    Sentence pursuant to First Step Act of 2018, Karen Lynn McClaflin, 44166−013,
                    CARSWELL FEDERAL MEDICAL CENTER, Inmate Mail/Parcels, P.O. BOX
                    27137, FORT WORTH, TX 76127 (evana, ) (Entered: 06/05/2020)
   06/08/2020   119 ORDER: The Government and the Probation Office are DIRECTED to file a Response
                    to 117 Defendants Motion on or before 6/15/2020. The Government's Response shall
                    specifically address: what steps the warden at this facility is taking/has taken to protect
                    especially vulnerable people like Defendant from the COVID−19 virus, what the status
                    of Defendant's administrative request is, and whether the warden has put in place any
                    process to expedite the determination of these types of compassionate release requests.
                    Probation's Response shall specifically address: what steps would need to be taken by
                    their office to put in place adequate supervision if the Court were to find that release is
                    appropriate, what the time frame would be, and what particular risks if any the relief
                    Defendant requests may create for the community. SO ORDERED by Judge Christine
                    M. Arguello on 6/8/2020. Text Only Entry (cmasec) (Entered: 06/08/2020)
   06/10/2020   120 NOTICE OF ATTORNEY APPEARANCE: Nathan Dale Chambers appearing for
                    Karen Lynn McClaflinAttorney Nathan Dale Chambers added to party Karen Lynn
                    McClaflin(pty:dft) (Chambers, Nathan) (Entered: 06/10/2020)
   06/15/2020   121 PROBATION RESPONSE TO MOTION FOR COMPASSIONATE RELEASE 117
                    as to Karen Lynn McClaflin (ntaka) (Entered: 06/15/2020)
   06/15/2020   122 RESPONSE to Motion by USA as to Karen Lynn McClaflin re 117 MOTION to
                    Reduce Sentence pursuant to First Step Act of 2018 (Attachments: # 1 Exhibit 1, # 2
                    Exhibit 2, (RESTRICTED DOCUMENT Level−2 # 3 Exhibit 3), # 4 Exhibit
                    4)(Rhyne, Pegeen) (Modified on 6/16/2020 edited to Restrict Exhibit #3)(evana, ).
                    (Entered: 06/15/2020)
   06/15/2020   123 MOTION for Leave to Restrict by USA as to Karen Lynn McClaflin. (Attachments: #
                    1 Proposed Order (PDF Only))(Rhyne, Pegeen) (Entered: 06/15/2020)
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   06/15/2020   124 RESTRICTED DOCUMENT − Level 2: as to Karen Lynn McClaflin. (Rhyne,
                    Pegeen) (Entered: 06/15/2020)
   06/19/2020   125 MOTION for Leave to File Reply by July 3, 2020 by Karen Lynn McClaflin.
                    (Attachments: # 1 Proposed Order (PDF Only))(Chambers, Nathan) (Entered:
                    06/19/2020)
   06/22/2020   126 ORDER Granting 123 Motion for Leave to Restrict. Doc. # 124 , all exhibits attached
                    thereto, and any orders that may reveal the contents of these documents shall have a
                    Level 2 Restriction. SO ORDERED by Judge Christine M. Arguello on 6/22/2020.
                    Text Only Entry (cmasec) (Entered: 06/22/2020)
   06/22/2020   127 ORDER Granting 125 Defendant's Motion to Extend Deadline. Defendant shall have
                    up to and including 7/3/2020 within which to file a Reply to her 117 Motion for
                    Compassionate Release. SO ORDERED by Judge Christine M. Arguello on
                    6/22/2020. Text Only Entry (cmasec) (Entered: 06/22/2020)
   07/03/2020   128 REPLY TO RESPONSE to Motion by Karen Lynn McClaflin re 117 MOTION to
                    Reduce Sentence pursuant to First Step Act of 2018 (Attachments: # 1 Exhibit, # 2
                    Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit)(Chambers, Nathan)
                    (Entered: 07/03/2020)
   07/20/2020   129 ORDER Denying 117 Defendant Karen McClaflin's Motion for CompassionateRelief,
                    by Judge Christine M. Arguello on 7/20/2020. (evana, ) (Entered: 07/20/2020)
   07/24/2020   130 NOTICE OF APPEAL as to 129 Order On Motion to Reduce Sentence Pursuant to
                    First Step Act of 2018 by Karen Lynn McClaflin. (Chambers, Nathan) (Entered:
                    07/24/2020)
